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                                                      John D. Bates   Digitally signed by John D. Bates
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